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                                                                       • "'-•AO Orf/C£
David Lynwood Toppin
                                                                     7r*n
465 Salisbury Street                                                 - '          FH >
Holden, Massachusetts
978-669-0060                                                         •W. Oir-l-T Oaiir-r
                                                                            ^     'Ms.
                    "DISTRICT COURT OF THE UNITED STATES"
                     FOR THE DISTRICT OF MASSACHUSETTS
                                  CENTRAL DIVISION



"UNITED STATES OF AMERICA"

       Plaintiff,

       versus                                  Case No. 4:I7-CV-40011-TSH


David Lynwood Toppin, in
      propria personUj et seq.
       Defendant.


                          Memorandum of Third Motion to Dismiss


       Comes now, David Lynwood Toppin ("Toppin"), in propria persona, without Assistance

of Counsel with this limited and special Appearance with this Third Motion and Memorandum

as I reserved the Right to Amend Docket 4's—Motion to Dismiss and reserve the right to

file more Motions to Dismiss and/or Summary Judgements.




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     this title                                                                                     4

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section 641 of title 48, U.S.C., 1940 ed.. Territories and Insular Possessions (Apr. 30, 1900, ch.

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Attach F—Unambiguous Statutes                                                                  1

Attachment A— Title 28, United States Code Congressional Service, New Title 28— and

    Judicial Procedure Pages 1487-2174, 80th Congress—2ndSession, Epochal Legislation, West

    Publishing 1948—^pg.i—"augmented by expert revisers and consultants"—^New Title 28,

    United States Code, Judiciary and Judicial Procedure With Official Legislative History and

    Reviser's Note                                                                             3

Attachment B—^Title 28, United States Code Congressional Service, New Title 28—and Judicial

    Procedure Pages 1487-2174, 80th Congress—2ndSession, Epochal Legislation, West

    Publishing 1948—pg.i—"augmented by expert revisers and consultants"—^New Title 28,

    United States Code, Judiciary and Judicial Procedure With Official Legislative History and

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Attachment C—Title 28, United States Code Congressional Service, New Title 28—and Judicial

    Procedure Pages    1487-2174, 80th Congress—2ndSession, Epochal Legislation, West

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     United States Code, Judiciary and Judicial Procedure With Official Legislative History and
     Reviser's Note. (Attach C—28 U.S.C. Chapter 5")on pgs. 10-11                            9

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     0136613-0" ("Attach E—USA")                                                             19

Attachment F—Memorandum on Unambiguous Statues                                                1

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Senate Report No. 112, February 24, 1939 pg. 15                                              19

ttach A—28 U.S.C. § 132 pg. 38                                                                5

Rules


Rule 12(b)(6),                                                                               13

United States Federal Circuit Court of Appeals that uses "United States" in Rule 4 and Rule 10

     and not the "United States of America."                                                 18


Constitutional Provisions


Art. 1, § 8,cl. 17                                                                           10

Article 111 Sections 1 and 1 exercising the "judicial Power of the United States,'           13

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Article IV "legislative courts"                                           ^^
Constitution of the United States Article VI Clause 2                     3

section 1, and defined by section 2,ofarticle 3 ofthe Constitution        11
Tenth Amendment                                                           1^




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                              I. Procedural Tactic of No Answer

       The Second Motion to Dismiss was denied using a procedural tactic, which is fine. An

Answer and Affirmative Defense was filed per Docket Entry 69's unwritten Order, so Toppin

filed per the Docket Entry Order of 69 filed in Docket 70 an "Answer and Affirmative Defense"

that was incorrectly with styled "Second Motion to Dismiss" with the Errata filed and evidenced

in Docket 71 and Docket 72 to properly correct the two Erratum, wherein the Docket 70 is now

correctly styled and identified as an "Answer and Affirmative Defense" due to Errata of Dockets

71 and 72.


       Judge Timothy S. Hillman, hereafter will be identified as the "Chief Inquisitor"; and

further, this identification in not used in a derogatoiy way but as all pleading are to state Facts

and the Truth supported by evidence; therein, hereafter in this instant Case (sic) the "Chief

Inquisitor" will be used supported by the unassailable facts filed in Doc 68 with its public record

Attachments now refiled after the procedural tactic of Docket 69 with this filing in Docket 73

with its public record Attachments as the Chief Inquisitor is "exercising the judicial power of a

district court" as authorized unambiguous statutes codified in codified 28 U.S.C. § 132(c)

evidenced by the unambiguous statutes.         Toppin has included a extensively researched

Memorandum on Unambiguous Statutes in as evidenced in Attachment F—Memorandum on

Unambiguous Statues ("Attach F—Unambiguous Statutes"), which the "United States

District Court" {''This Court*') shall take judicial Notice thereof; and further, this Attach F—

Unambiguous Statues established the unassailable Fact that this Court is limited to only

"exercising the judicial power of a district court" from which flows a fortiori forever

precluding this Court from ever "exercising the judicial Power of the United States" arising

under Article III Sections 1 and 2 of the "Constitution of the United States."


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       Toppin is renewing with this Motion exposing the Opposition at Docket 45 that was
signed by an "undersigned counsel," not the "counsel for the United States ofAmerica" and it
was not only off-point but there was no opposition to the essential elements of Toppin's Motion

to Dismiss but what was filed is filled with the typical boilerplate obfuscations and totally

frivolous conclusory statements from the "undersigned counsel."

A. Off-Point

       The Supreme Court of the United States has by its repeated adjudications, stated that if

dictaor general expressions are not directly on-point they ought not to control subsequent suits

starting with Cohens v. Virginia, 19 U.S. 264, 399-400 (1821), to wit:

       It is a maxim not to be disregarded, that general expressions, in every opinion, are
       to be taken in connection with the case in which those expressions are used. If
       they go beyond the case, they may be respected, but ought not to control the
       judgment in a subsequent suit when the very point is presented for decision,
       (emphasis added)

       See also Central Virginia Community v. Katz, 126 S.Ct. 990, 996 (2006); Jean v. Nelson,

472 U.S. 846, 872 (1985); Zenith Radio Corp. v. U.S., 437 U.S. 443, 462 (1978); People of

Puerto Rico v. Shell Co., 302 U.S. 253, 269 (1937); Oska Shosen Kaisha Line v. U.S., 300 U.S.

98, 103 (1937); Humphrey's Ex'r v. U.S., 295 U.S. 602, 627 (1935); Myers v. U.S., 272 U.S.

52, 142 (1926); Joplin Mercantile Co. v. U.S., 236 U.S. 531, 538 (1915); Downes v. Bidwell,

1982 U.S. 244, 258 (1901); French v. Barber Asphalt Pav. Co., 181 U.S. 324, 367 (1901); U.S.

V. Wong Kim Ark, 169 U.S. 649, 679 (1898); Pollock v. Farmers' Loan & Trust Co., 157 U.S.

429, 574 (1895); Leisy v. Hardin, 135 U.S. 100, 135 (1890); Carroll v. Carroll's Lessee, 57

U.S. 275, 287(1853).




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         II. Article III Sections 1 and 2 of versus the "United States District Court"

       The "United States District Court" ("USDC") does not arise under Article III Sections 1

and 2 of the Constitution of the United States—^"The judicial Power of the United States ... in

such inferior Court as the Congress may from time to time ordain and establish;" and does

not arise under Article III Section 2 of the Constitution of the United States—"The judicial

Power shall extend to all Cases, in Law and Equity, arising under this Constitution, the

Laws of the United States, and Treaties made, or which shall be made, under their Authority."

        And further, from the Constitution of the United States Article VI Clause 2, to wit:

        This Constitution, and the Laws of the United States which shall be made in
        Pursuance thereof; and all Treaties made, or which shall be made, under the
        Authority of the United States, shall be the supreme Law of the Land; and
        the Judges in every State shall be bound thereby, any Thing in the Constitution or
        Laws of any State to the Contrary notwithstanding.

        This USDC is not a "District Court of the United States" that was ordained and

established in 1 Stat. 73-93 in 1789 in the "Judiciary Act of 1789" arising under Article III

Sections 1 and 2, but this USDC was "created"' in the codified 28 U.S.C. § 132 and these

USDC's authority is derived 62 Stat 869-1009 Chapter 646 at page 895 of 1948 codified in 28

U.S.C. § 132—Creation and composition of district Courts being Attachment A— Title 28,

United States Code Congressional Service, New Title 28— and Judicial Procedure Pages

1487-2174, 8(P' Congress—2'"'Session, Epochal Legislation, West Publishing 1948—

pg.i—"augmented by expert revisers and consultants"—New Title 28, United States Code,

Judiciary and Judicial Procedure With Official Legislative History and Reviser ^s Note (Attach

A—^28 U.S.C. § 132"), which USDC shall take judicial Notice there with the following excerpts

of Attach A—28 U.S.C. § 132, pages 37 and 38, to wit:


' 28 U.S.C. § 132 "[W]hich shall be a court of record known as the United States District Court
for the district."
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       Title 28, United States Code Congressional Service, New Title 28— and Judicial
       Procedure Pages 1487-2174, 80"' Congress—2""Session, Epochal Legislation,
       West Publishing 1948—pg.i—"augmented by expert revisers and consultants"—
       New Title 28, United States Code, Judiciary and Judicial Procedure With Official
       Legislative History and Reviser*s Notes.

                Page 1521—^28 U.S.C § 132. Creation and composition of district
       courts


       (a) There shall be in each judicial district a district court which shall be a court of
       record known as the United States District Court for the district.

       (b) Each district court shall consistof the district judge or judges for the district in
       regular active service. Justices or judges designated or assigned shall be
       competent to sit as judges of the court.
       (c) Except as otherwise provided by law, or rule or order of court, the judicial
       power of a district court with respect to any action, suit or proceeding may be
       exercised by a single iudee. who may preside alone and hold a regular or
       special session of court at the same time other sessions are held by other
       judges.
                 Page 1732—Section 132—Revised [Reviser's Notes]—Section 132-
       Section Revised

               Based on title 28, U.S.C., 1940 ed., § 1, and section 641 of title 48,
       U.S.C., 1940 ed., Territories and Insular Possessions (Apr. 30, 1900, ch. 339, §
       86, 31 Stat. 158; Mar. 3, 1909, ch. 269, § 1, 35 Stat. 838; Mar. 3, 1911, ch. 231, §
       1, 36 Stat. 1087; July 30, 1914, ch. 216, 38 Stat. 580; July 19, 1921, ch. 42, § 313,
       42 Stat. 119; Feb. 12, 1925, ch. 220, 43 Stat. 890; Dec. 13, 1926, ch. 6, § 1, 44
       Stat. 19).
                 Section consolidates section 1 of title 28, U.S.C., 1940 ed., and section
       641 of title 48, U.S.C., 1940 ed., with changes in phraseology necessary to effect
       the consolidation.

                 Subsection (c) is derived from section 641 of title 48. U.S.C.. 1940 ed.
       [Territories and Insular Possessions], which applied onlv to the Territorv of
       Hawaii. The revised section, by extending it to all districts, merelv recognizes
       established practice.
       Other portions of section 1 of title 28, U.S.C., 1940 ed., are incorporated in
       sections 133 and 134 of this title. The remainder of section 641 of title 48,
       U.S.C., 1940 ed., is incorporated in sections 91 and 133 of this title.
       Until 1948 there were only the "District Courts of the United States" established in the

Judiciary Act of 1789 in 1 Stat. 73-93; and further, in the footnotes of 1 Stat. 81 "(c) Where the

District Court of the United States has no jurisdiction of a cause brought before it, a

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prohibition will be issued from the Supreme Court to prevent proceedings. The United States v.

Judge Peters, 3 Dall. [U.S.] 121 (1795)."

        It is a dispositive fact- that the "judicial power of a district court" irrevocably precludes

this USDC from exercising the "judicial Power of the United States" arising under Article 111

Sections 1 and 2 of the Constitution of the United States in this instant Controversy; and further,

it mandates termination of all jural relations with Toppin in this instant Controversy for lack of

jurisdiction.

        And further, this an unassailable Fact that that "judicial power of a district court" is

irrevocable precluded from exercising the ^^judicial Power of the United States" arising under

Article 111 Sections 1 and 2 of the Constitution of the United States in this instant Controversy

evidenced by Attach F—Unambiguous Statues.

        And further in the Reviser's Notes the "judicial power of a district" source authority is

from the "Territory of Hawaii," which is unambiguously disclosed in the Reviser's Notes

Attach A—^28 U.S.C. § 132 pg. 38—"Subsection fc^ is derived from section 641 of title 48.

U.S.C.. 1940 ed. ITerritories and Insular Possessions], which applied only to the Territory

of Hawaii" therein flows a fortiori irrevocably precluding all of the perceived USDC's authority

or "power" arising under Article III Sections 1 and 2 of the Constitution of the United States and

this instant Controversy.

        And further, in in Attach A—28 U.S.C. § 132 pg. 38 we find the source authority being

"merely recognizes established practice" as evidenced in "The revised section, by extending

it to all districts, merelv recognizes established practice."



- Blacks 4''' Ed. 1968 pg. 558 "Dispositive Facts. Jural facts, or those acts or events that create,
modify or extinguishjural relations. Kocourek, Jural Relations (2d Ed.) p. 17.
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       And further, the "District Courts of the United States" arise under the Article III of the

Constitution of the United States Sections 1 and 2 and Courts in the Territories are

legislative courts [Territory of Hawaii, supra,—Attach A—^28 U.S.C. § 132 pg. 38] and are

not "District Courts of the United States" which has been adjudicated many times therein

irrevocably precluding this USDC of "jurisdiction" arising under Article III as this USDC's

authority is derived from the "Territory of Hawaii," supra 28 U.S.C. § 132 Reviser's Note in

Attach A—28 U.S..C. § 132 pg. 38.

A. Reviser^s Notes

       It is well settled that the reviser's notes are authoritative in interpreting the Code. See

United States v. National City Lines, 337 U.S. 78, 81 (1949); Stainback v. Mo Hock Ke Lok Po,

336 U.S. 368 n. 12 (1949); Aberdeen & Rockfish R. Co. v. Students Challenging Regulatory

Agency, 422 U.S. 289, 309 (1975); Western Pac. R. Corp. v. Western Pac. R. Co., 345 U.S. 247,

254-255 (1953); Pope v. Atlantic Coast Line R.Co., 345 U.S. 379, 384 (1953); Tivoli Realty v.

Paramount Pictures, 80 RSupp. 278, 280 (D. Del. 1950); United States v. Thompson, 319 F.2d

665, 669 (1963) (2"'' Cir. 1963); United States ex rel. Almeida, 195 F.2d 815 (3^'' Cir. 1952);

Adamowski v. Bard, 193 F.2d 578, 581 (3"** Cir. 1952); United States ex rel. Auld vi Warden of

New Jersey State Penitentiary, 187 F.2d 615 n. 1 (3''* Cir. 1951); Lake v. New York Life Ins. Co.,

218 F.2d 394, 398 (4"' Cir. 1955); Government Nat. Mortg. Ass/n v. Terry, 608 F.2d 614, 618 n. 5

(5"' Cir. 1979); Acron Investments, Inc. v. FederalSav. & Loan Ins. Corp., 363 F.2d 236, 240 (9"'
Cir. 1966); Ragsdale v. Price, 185 F.Supp. 263, 265 (M.D. Term. 1960); Wham-O-Mfg. Co. v.

Paradise Mfg. Co., 327 F.2d 748, 752 (9"' Cir. 1964); Stauffer et al. v. Exley, 184 F.2d 962, 964

(9"' Cir. 1950); King v. United States, 390 F.2d 894, 913 (Ct.Cl. 1968) [28 U.S.C. 2201-02];
Matter of Contest of General election on Nov. 8, 1977, 264 N.W.2d 401, 405-405 (Sup. Ct. Minn.

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1978);    United States v. Klock, 100 RSupp. 230, 233 (N.D. N.Y. 1951); State ex rel v.

Shoemaker, 39 N.W.2d 524, 528 (Sup. Ct. S.D. 1949); Glenn v. United States, 129 RSupp. 914,

917 (S.D. Cal. 1955).

B. District Court of the United States Means,

         In Wells, et al v. UnitedStates et al.,2\A R2d 380, 382 (5"' Cir. 1954),to wit:

         Not content with this negative defense, the United States, taking the affirmative,
         conclusively demonstrates, we think, that by Section 1346, 'United States as
         Defendant', under the provisions of which appellants seek to maintain their suit,
         the United States has consented to waive its sovereign immunity from suit and
         permit actions to be brought against it for the recovery of internal revenue taxes
         only in the Court of Claims and in the district courts; and that, as used in Title 28,
         the term 'district courts^ means only those courts which are created under
         Article III of the Constitution and which are constituted by Chapter 5 of Title
         28. FN6.

         FN6. Mookini v. United States, 303 U.S. 201 (1938); International
         Longshoremen's, Etc,, Union v. Wirtz, 9 Cir., 170 R2d 183 (1948); Reese v. Fultz,
         96 RSupp. 449(D.C. Territory of Alaska 1951); 28 U.S.C., Section 451,
         Appendix, infra.

         In Mookini et al. v. United States, 303 U.S. 201 (1938), to wit:

         The term 'District courts of the United States,' as used in the rules, without an
         addition expressing a wider connotation, has its historic significance.             It
         describes the constitutional courts created under article 3 of the Constitution.
         Courts of the Territories are legislative courts, properly speaking, and are not
         District courts of the United States. We have often held that vesting a
         territorial court with jurisdiction similar to that vested in the District courts
         of the United States does not make it a 'District court of the United States.'
         Reynolds v. United States, 98 U.S. 145, 154 (1878); The City ofPanama, 101 U.S.
         453, 460 (1879); In re Mills, 135 U.S. 263, 268 (1941); McAllister v. United
         States, 141 U.S. 174, 182 (1891); Stephens v. Cherokee Nation, 174 U.S. 445,
         476, 477 (1899); Summers v. United States, 231 U.S. 92, 101, 102 (1913); United
         States V. Burroughs, 289 U.S. 159, 163 (1933). Not only did the promulgating
         order use the term District courts of the United States in its historic and proper
         sense, but the omission of provision for the application of the rules to the
         territorial courts and other courts mentioned in the authorizing act clearly shows
         the limitation that was intended.

C. This is Not a Facial Challenge or Facial Attack to 28 U.S,C. S 132.

         This is not a facial challenge or facial attack to 28 U.S.C. § 132, wherein if you do not
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swear that you are "n^ a citizen of the United State" as used in 28 U.S.C. § 1865(b)(1)—

Qualification forjury service, therefore, you are qualified to act as jury member being a "citizen

of the United States." The USDC's always requires your status as a "citizen of the United

States" in open court before any appearance of a bona fide Trial by Jury being that you MUST

consent to this fictitious status established in 1866 in 14 Stat. 27, being the first "civil rights act"

that has no "political rights" -^codified in 42 U.S.C. § 1981, § 1982 and § 1988 to have the same

rights as "white citizens." Toppin is white by the way.

       This "District Court of the United States" is authorized and empowered as a

Constitutional Court of the United States arising under Article III Sections 1 and 2 exercising the

"judicial Power of the United States" that "shall extend to all Cases, in Law and Equity, arising

under this Constitution, the Laws of the United States and Treaties made, or which shall be

made, under their Authority."


       "Facial attack^^ has various applications and Toppin is not making a "constitutional

facial challenge" to the Statues of the United States, being 28 U.S.C. §§§§§ 1331, 1340. 1345,

7402 and 7403 as identified as defined in Ezell v. City of Chicago, 651 F.3d 684, 697-699 (7"'

Cir. 2011).   See Justice v. Town of Cicero, 827 F.Supp.2d 835, 843 (N.D.Ill. 2011) "[A]

successful facial attack means the statute is wholly invalid and cannot be applied to anyone."

See also Doe v. City ofAlbuquerque, 667 F.3d 1111 (10"' Cir. 2012).

D. 28 U»S.C. Organization of Court—Chapter 5—1948 Chapter 646—Pubic Law 773: and
28 U.S.C. 8 451 Definitions 1948 Chapter 646—Pubic Law 773

       This USDC established and derived from the "Territory of Hawaii" (See Reviser's Notes

for 28 U.S.C. § 132(c)) in 28 U.S.C. § 132(c) evidenced in Attach A—^28 U.S.C. § 132

unambiguous Statue of the United States that—"[T]he judicial power of a district court [this
^See Ex Parte Virginia, 100 U.S. 339, 360-369 (1879).
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USDC] with respect to any action, suit or proceeding may be exercised by a single judge,

who may preside alone and hold a regular or special session of court at the same time other

sessions are held by other judges"y7ow5 a fortiori of an irrevocable estoppel that this USDC is

precluded to even have an illusion to accept or to exercise the "Judicial Power of the United

States" arising under Article 111 Sections 1 and 2 under any condition and that is an unassailable

fact.


        As evidenced by the excerpt of Attachment B—Title 28, United States Code

Congressional Service, New Title 28—and Judicial Procedure Pages 1487-2174, 80"'

Congress—2'"'Session, Epochal Legislation, West Publishing 1948—pg.i—^^augmented by

expert revisers and consultants*'—New Title 28, United States Code, Judiciary and Judicial

Procedure With Official Legislative History and Reviser *s Note, (Attach B—28 U.S.C. § 451")

on pg. 11), which this Court shall take judicial Notice thereof, to wit:

        The term "court of the United States" includes the Supreme Court of the United
        States, courts of appeals, district courts constituted bv chapter 5 of this title,
        including the district courts of the United States f^ the districts of Hawaii and
        Puerto Rico . . . The terms "district court" and "district court of the United
        States" mean the courts constituted by chapter 5 of this title.

        The definition in 28 U.S.C. § 451 conflates "district court" with "district court of the

United States" wherein flows a fortiori that all of the Courts listed in Chapter 5 are authorized

and empowered exactly same and of course both a "district court" and "district court of the

United States are ONLY exercising the "judicial power of a district court" was found in the

unambiguous codified Statute of the United States in 28 U.S.C. § 132(c); and, not the "judicial
Power of the United States" arising under Article III Sections 1 and 2.

        And further, in the excerpt of Attachment C—Title 28, United States Code

Congressional Service, New Title 28—and Judicial Procedure Pages 1487-2174, 80"'

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Congress—2"''Sessionf Epochal Legislationy West Publishing 1948—pg.i—^**augmented by

expert revisers and consultants"—New Title 28, United States Code, Judiciary and Judicial

Procedure With Official Legislative History and Reviser *s Note. (Attach C—^28 U.S.C.

Chapter 5") on pgs. 10-11, we find the Territory of Hawaii at Section 81, the District of

Columbia at Section 88 and Puerto Rico at Section 119.


       As included in Attach C—28 U.S.C. Chapter 5, being "Hawaii," which was still the

Territory of Hawaii is in reality an Article IV court.       In Northern Pipeline Const. Co. v.

Marathon Pipe Line Co., 458 U.S. 50, 64-65 (1982), to wit:

       Appellants first rely upon a series of cases in which this Court has upheld the
       creation by Congress of non-Art. Ill "territorial courts." This exception from
       the general prescription of Art. Ill dates from the earliest days of the Republic,
       when it was perceived that the Framers intended that as to certain geographical
       areas, in which no State operated as sovereign. Congress was to exercise the
       general powers of government. For example, in American Ins. Co. v. Canter, 1
       Pet. 511, 7 L.Ed. 242 (1828), the Court observed that Art. IV bestowed upon
       Congress alone a complete power of government over territories not within
       the States that constituted the United States. The Court then acknowledged
       Congress' authoritv to create courts for those territories that were not in
       conformitv with Art. III. Such courts were "created in virtue of the general right
       of sovereignty which exists in the government, or in virtue of that clause which
       enables Congress to make all needful rules and regulations, respecting the
       territory belonging to the United States. Thejurisdiction with which they are
       invested ... is conferred by Congress, in the execution of those general powers
       which that body possesses over the territories of the United States. Although
       admiralty jurisdiction can be exercised in the states in those Courts, only, which
       are established in pursuance of the third article of the Constitution; the same
       limitation does not extend to the territories. In legislating for them. Congress
       exercises the combined powers of the general, and of a state government." 1
      Pet., at 546.

        The Court followed the same reasoning when it reviewed Congress' creation
       of non-Art. Ill courts in the District of Columbia.      It noted that there was in
      the District "no division of powers between the general and state
      governments. Congress has the entire control over the district for every
      purpose of government; and it is reasonable to suppose, that in organizing a
      judicial department here, all judicial power necessary for the purposes of
      government would be vested in the courts of justice." Kendall v. United States,
      12 Pet. 524, 619, 9 L.Ed. 1181 (1838). [FN16]
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               FN16. We recently reaffirmed the principle, expressed in these early
       cases, that Art. I, § 8, el. 17, provides that Congress shall have power "[t]o
       exercise exclusive Legislation in all Cases whatsoever, over^* the District of
       Columbia. Palmore v. United States, 411 U.S., at 397, 93 S.Ct., at 1676. See
       also Wallace v. Adams, 204 U.S. 415, 423, 27 S.Ct. 363, 365, 51 L.Ed. 547 (1907)
       (recognizing Congress' authority to establish legislative courts to determine
       questions of tribal membership relevant to property claims within Indian
       territory);/« re Ross, 140 U.S. 453, 11 S.Ct. 897, 35 L.Ed. 581 (1891) (same,
       respecting consular courts established by concession from foreign countries). See
       generally 1 J. Moore, J. Lucas, H. Fink, D. Weckstein, & J. Wicker, Moore's
       Federal Practice 46-49, 53-54 (1982). But see Reid v. Covert, 354 U.S. 1, 77
       S.Ct. 1222, 1 L.Ed.2d 1148 (1957).

       In Williams v. United States, 289 U.S. 553, 565-566 (1933), to wit:

       That judicial power apart from that article may be conferred by Congress upon
       legislative courts, as well as upon constitutional courts, is plainly apparent from
       the opinion of Chief Justice Marshall in American Insurance Company et ai v.
       Canter, 1 Pet. 511, 546, 7 L.Ed. 242, dealing with the territorial courts. The
       jurisdiction.' he said, 'with which thev are invested, is not a oart of that
       judicial power which is defined in the 3d article of the Constitution, but is
       conferred by Congress, in the execution of those general powers which that body
       possesses over the territories of the United States.' That is to say (1) that the
       courts of the territories (and, of course, other legislative courts) are invested with
       judicial power, but (1) that this power is not conferred bv the third article ofthe
       Constitution, but by Congress in the execution of other provisions of that
       instrument. * * * . Thus,' he says, 'the authority granted to territorial courts to
       hear and determine controversies arising in the territories of the United States is
       Judicial power. But it is not a part of that judicial power granted bv section 1.
       and defined bv section 2. of article 3 of the Constitution. Nevertheless, under
       the constitutional grant to Congress of power to 'make all needful rules and
       regulations respecting the territory * * * belonging to the United States' (article 4,
       s 3), that body mav create territorial courts not contemplated or authorized
       bv article 3 of the Constitution, and may confer upon them plenarv judicial
       power, because the establishment of such courts and the bestowal of such
       authority constitute appropriate means by which to exercise the congressional
       power to make needful rules respecting the territory belonging to the United
       States. * *


       The Courts of the United States have held from the earlier cases in our Republic until

now the unassailable fact that all courts in the Territories and Possessions do not exercise the

"judicial Power of the United States" arising under Article III Sections and 2 but are Article IV

"legislative courts" under the plenary Power of Congress as also are the Courts in the District of
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Columbia are courts of general jurisdiction under the plenary Power of Congress being different

from limited jurisdiction of the "District Courts of the United States" within the Union of States,

being the several States.

          The Courts of the United States in the District of Columbia are clearly different that the

District Courts of the United States as held in Postum Cereal Co, Inc. v. California Fig Nut Co.,,

272 U.S. 693, 700 (1927) cited supra, in FN12 in Crowell v. Crowell, 285 U.S. 22, 50-51 (1932),

to wit:


          The distinction between the jurisdiction of this court which is confined to the
          hearing and decision of cases in the constitutional sense and that of administrative
          action and decision, power for which may be conferred upon courts of the District
          is shown in the case of Keller v. Potomac Electric Company, 261 U. S. 428, 440,
          442, 443, 43 S. Ct. 445, 67 L. Ed. 731. There it is pointed out that, while
          Congress in its constitutional exercise of exclusive legislation over the District
          may clothe the courts of the District, not only with the jurisdiction and
          powers of the federal courts in the seyeral states, but also with such authority
          as a state might confer on her courts {Prentis v. Atlantic Coast Line Company,
          211 U. S. 210, 225, 226, 29 S. Ct. 67, 53 L. Ed. 150), and so may yest courts of
          the District with administratiye or legislatiye functions which are not
          properly ludiciaK it may not do so with this court, or any federal court
          established under article 3 of the Constitution. Of the jurisdiction of this court,
          we said, at page 444 of 261 U. S. (43 S. Ct. 449):

          'Such legislatiye or administratiye jurisdiction, it is well settled, cannot be
          conferred on this court either directly or by appeal. The latest and fullest
          authority upon this point is to be found in the opinion of Mr. Justice Day,
          speaking for the court in Muskrat v. UnitedStates, 219 U. S. 346 (31 S. Ct. 250,
          55 L. Ed. 246). The principle there recognized and enforced on reason and
          authority is that the jurisdiction of this court and of the inferior courts of the
          United States ordained and established by Congress under and by yirtue of
          the third article of the Constitution is limited to cases and controyersies in
          such form that the judicial power is capable of acting on them, and does not
          extend to an issue of constitutional law framed by Congress for the purpose of
          invoking the advice of this court without real parties or a real case, or to
          administratiye or legislative issues or controversies.*
          See, also. Liberty Warehouse Co. v. Grannis, 273 U. S. 70, 47 S. Ct. 282, 71 L.
          Ed. -, decided this day.
                  With this limitation upon our powers, it is not difficult to reach a
          conclusion in the present case. We should have had no power to review the action
          of the District Court if it had heard the appeal and taken administrative
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       jurisdiction, and by the same token have now no power to review its action in
       refusing such jurisdiction.

       Clearly this conflating of the courts in territories and possessions with the courts within

the District of Columbia with bona fide Courts of the United States arising under the Article III

Sections 1 and 1 exercising the "judicial Power of the United States,' which "shall extend to all

Cases, in Law and Equity, arising under this Constitution, the Laws of the United States, and

treaties made, or which shall be made, under their Authority" into "Chapter 5" is totally ultra

vires and total FRAUD and CON.


       As held in Owen Equipment and Erection Co. v. Kroger, 437 U.S. 365, 374 (1978)

"It is a fundamental precept that federal courts are courts of limited Jurisdiction. The

limits upon federal jurisdiction, whether imposed by the Constitution or by Congress,

must be neither disregarded nor evaded."


       In Statterlee v. Commissioner of Internal Revenue, et ai, 195 F.Supp.3d 327

(Dist.Cir. 2016), to wit:

       Under Rule 12(b)(1), the plaintiff bears the burden of establishing
       jurisdiction by a preponderance of the evidence. See Lujan v. Defs. of
        Wildlife, 504 U.S. 555, 561, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992);
       Shekoyan v. Sibley Int'l Corp., 217 F.Supp.2d 59, 63 (D.D.C.2002). Federal
       courts are courts of limited jurisdiction and the law presumes that "a cause
       lies outside this limited jurisdiction." Kokkonen v. Guardian Life Ins. Co. of
       Am., 511 U.S. 375, 377, 114 S.Ct. 1673, 128 L.Ed.2d 391 (1994);           also
       Gen. Motors Corp. v. EPA, 363 F.3d 442, 448 (D.C.Cir.2004) ("As a court
       of limited jurisdiction, we begin, and end, with an examination of our
       jurisdiction."). "[BJecause subject-matter jurisdiction is 'an Art[icle] III as
       well as a statutory requirement ... no action of the parties can confer
       subject-matter jurisdiction upon a federal court.' " Akinseye v. District of
       Columbia, 339 F.3d 970, 971 (D.C.Cir.2003), quoting Ins. Corp. ofIn, Ltd.
       V. Compagnie des Bauxites de Guinee, 456 U.S. 694, 702, 102 S.Ct. 2099,
       72 L.Ed.2d 492 (1982).

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       When considering a motion to dismiss for lack ofjurisdiction, unlike when
       deciding a motion to dismiss under Rule 12(b)(6), the court "is not limited
       to the allegations of the complaint." Hohri v. United States, 782 F.2d 227,
       241 (D.C.Cir.l986), vacated on other grounds, 482 U.S. 64, 107 S.Ct.
       2246, 96 L.Ed.2d 51 (1987). *333 Rather, "a court may consider such
       materials outside the pleadings as it deems appropriate to resolve the
       question [of] whether it has jurisdiction to hear the case." Scolaro v. D.C.
       Bd. of Elections & Ethics, 104 F.Supp.2d 18, 22 (D.D.C.2000), citing
       Herbert v. Nat'l Acad. ofScis., 974 F.2d 192, 197 (D.C.Cir.l992); see also
       Jerome Stevens Pharm., Inc. v. FDA, 402 F.3d 1249, 1253 (D.C.Cir.2005).

     HI. Toppin is a **citizen of Massachusetts" and Not a "citizen of the United States."

       Toppin files a certified copy of his Political Status, Citizen Status and Allegiance filed

into the public record being Attachment D—Certificate of Political Status, Citizen Status and

Allegiance, Filed in The Recording District 311 Palmer, Alaska No. "2015-025747-0"

("Attach D—Status"), wherein this true and correct copy of the certified copy that that was

filed in Docket 68 Exhibit D, whch is self-authenticating underevidence Rule 901(7) thatToppin

is a "citizen of Massachusetts" domiciled in Massachusetts, being one of the several States.

       Of course Toppin is not a "citizen of the United States" but he is a "national of the United

States" that owes permanent allegiance to United States (8 U.S.C. § 1101(a)(22)(B)), where it is

statutorily established there are those that claim to be a "citizen of the United States" those that

are NOT "a citizen of the United States" (citizens of one of the several States) as found codified

in 8 U.S.C. § 1101(a)(22)(B)"The term "national of the United States" means (A) a citizen of

the United States, OR (B) a person who, though not a citizen of the United States, owes

permanent allegiance to the United States."


       And further, this "citizen/national of the United States" is found in the Passport of the
United States of America.


       If Toppin were to claim to be a "citizen of the United States" and had no evidence therein
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in support thereof, that is felony as codified in 18 U.S.C. § 911—Citizen of the United States

"Whoever falsely and willfully represents himself to be a citizen of the United States shall be

fined under this title or imprisoned not more than three years, or both."

       Toppin is NOT claiming to be a "sovereign state citizen" or some similar status that the

"undersigned counsel" claims in it off-point opposition. Toppin is NOT trying to expatriate so

please Mr. undersigned counsel do not go there.

A. Means - Exclusive Use of Defined Terms.

       In Verbie v. Morgan Stanley Smith Barney, LLC, 148 F.Supp.Sd 644, 651 (E.D.Tenn.

2015) ^'See 15 U.S.C. § 78u-6(a) (noting that the definition "shall apply" throughout the section);

see also Burgess v. United States, 553 U.S. 124, 131 n. 3 (2008) (describing a definition that

uses the term "means" as exclusive and a definition that uses that term "includes" as

nonexclusive)." * * * @ 656 "This conclusion is fortified by the fact that when an exclusive

definition is intended the word ^means' is employed". In Burgess v. United States, 553 U.S.

124, 131 n. 3 (2008) ""[T]he word 'includes' is usually a term of enlargement, and not of

limitation." 2A Singer § 47:7, p. 305 (some internal quotation marks omitted). Thus "[a] term

whose statutory definition declares what it 'includes' is more susceptible to extension of meaning

... than where"—as in § 802(44)—^"the definition declares what a term 'means.' " Ibid. See also

Groman v. Commissioner, 302 U.S. 82, 86 (1937) "[W]hen an exclusive definition is intended

the word 'means' is employed, ... whereas here the word used is 'includes."

       In Groman v. Commissioner, 302 U.S. 82, 86 (1937) "This conclusion is fortified by the

fact that when an exclusive definition is intended the word 'means' is employed." See also In

re Barnet, 737 F.3d 238, 248 (2"'' Cir. 2013); Verbie v. Morgan Stanley Smith Barney, LLC, 148
F.Supp.3d 644, 653 (E.D.Tenn. 2015).

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        In United States Navy-Marine Corps Court ofMilitary Review v. Cheney, 29 M.J. 98, 103

(C.M.A. 1989) "Where Congress intended a more exclusive definition, it used the word

"means,." In State v. Begay, 225 P.3d 108, 111 (App.Ct.Ore. 2010). In Berman v. Neo@Ogilvy

LLC, 801 F.3d 145, 156 (2"*^ Cir. 2015) see also UnitedStates v. DiCristina, 726 F.3d 92, 99 (2d

Cir.2013) (quoting Groman v. Commissioner, 302 U.S. 82, 86 (1937) ("When an exclusive

definition is intended the words means is employed.")).             See also Conn. Nat'l Bank v.

Germain, 503 U.S. 249, 253-54, (1992) ("We have stated time and again that courts must

presume that a legislature says in a statute what it means and means in a statute what it says

there.") * * * "[W]hen an exclusive definition is intended the word 'means' is employed....")"

        In Haeger Potteries v. Gilner Potteries, 123 F.Supp. 261, 267-268 (S.D.Cal. 1954) "Use

of the phrase 'shall mean and include' indicates that the statutory definition was not intended to

be restrictive or exclusive. Athens Lodge No. 70 v. Wilson, 1953, 117 CaI.App.2d 322, 255 P.2d

482."


        In Stenberg v. Carhart, 530 U.S. 914, 942 (2000), to wit:

        When a statute includes an explicit definition, we must follow that definition,
        even if it varies from that term's ordinary meaning. Meese v. Keene, 481 U.S.
        465, 484-485, 107 S.Ct. 1862, 95 L.Ed.2d 415 (1987) ("It is axiomatic that the
        statutory definition of the term excludes unstated meanings of that term");
        Colautti V. Franklin, 439 U.S., at 392-393, n. 10, 99 S.Ct. 675 ("As a rule, 'a
        definition which declares what a term "means" ... excludes any meaning that
        is not stated' "); Western Union Telegraph Co. v. Lenroot, 323 U.S. 490, 502, 65
        S.Ct. 335, 89 L.Ed. 414 (1945); Fox v. StandardOil Co. ofN. J., 294 U.S. 87, 95-
        96, 55 S.Ct. 333, 79 L.Ed. 780 (1935) (Cardozo, J.)
        See also Burgess v. United States, 553 U.S. 124, 130 (2008) citing Colautti, ibid',

McNamara v. Nomeco Bldg. Specialties, Inc., 26 F.Supp.2d 1168, 1174 (D.Minn. 1998) "In
ascertaining the Intent of Congress from a plain reading of a statute, it is fundamental that " 'a

statute should be interpreted so as not to render one part inoperative.' " Mountain States Tel &

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Tel Co. V. Pueblo of Santa Ana, 472 U.S. 237, 249, (1985), quoting Colautti v. Franklin, 439

U.S. 379,392(1979).

       In Colautti v. Franklin^ 439 U.S. 392 nlO (1979) "As a rule, 'a definition which

declares what a term "means*\ .. excludes any meaning that is not stated'."'

       In Western Union Telegraph Co. v. Lenroot, 323 U.S. 490, 502, (1945) "Of course

statutory definitions of terms used therein prevail over colloquial meanings."

       In Fox V. Standard Oil Co. of New Jersey, 294 U.S. 87, 95 (1935)                   "In such

circumstances definition by the average man or even by the ordinary dictionary with its studies

enumeration of subtle shades of meanings is not a substitute for the definition set before us by

the law makers with instructions to apply it to the exclusion of all others."          In Price v.

Commissioner of Revenue, 1989 WL 158198, *3 (Minn.Tax Ct. 1989) "Moreover, where a

statutory definition begins by stating what a defined term "means" rather than "includes," the

definition excludes any meaning not specifically stated. Colautti v. Franklin, 439 U.S. 379, n. 10,

(1979); Meese v. Keene, 481 U.S. 465, (1987)."

 IV. Following this Affirmative Defense and this Third Motion to Dismiss Toppin Will Be
 Filing Motions to Dismiss; and/or Motions for Summary Judgment: or Other Actions as
                                            Required.

       Please take notice that Toppin reserves the Right to add Motions to Dismiss and/or

Motions for Summary Judgement after this Third Motion to Dismiss so that the undersigned

counsel will have to address each of the issues in each Motion as will the STATE OF

MASSACHUSETTS ("SOM") that has no public Officers of Massachusetts, with Massachusetts

being one of the several States and whether or not it is a "State of the United States," infra. This

"SOM" has adopted the National Voter Registration Act ("NYRA")'* wherein the SOM is

' M.G.L.A 51 §42; M.G.L.A. 90 § 81; M.G.L.A./ 51 §36; M.G.L.A. 50 § 1""Federal Act" , the
National Voter Registration Act of 1993, 42 USC 1973 gg to 1973 gg-10, inclusive, as may be
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defined as "(4) the term "State" means a State of the United States and the District of Columbia"^

at 107 Stat 78; and this NVRA is limited to only "citizens of the United States" at 107 Stat. 77

"(1) the rights of citizens of the United State to vote is a fundamental right"^ precluding any

"citizens of Massachusetts" from exercising their elective franchise and right of suffrage to vote

for public Officers of Massachusetts. The SOM elections under the NVRA are limited strictly to

only the definitions in the NVRA codified at 52 U.S.C. § 20502 "(2) the term "Federal office"

has the meaning state in section 30101(3) of this title;" wherein this term meaning of

"30101(3)"is found in 52 U.S.C. § 30101 "(3) The term "Federal office" means the office of

President or Vice President, or of Senator or Representative in, or Delegate or Resident

Commissioner to, the Congress." See also the American Law Reports—Validity, Construction,

and Application of National Voter Registration Act, 42 U.S.C.A. 42 1973gg et seq.—185 A.L.R.

Fed (Originally published in 2003).

       Also, be reminded that a Reduce to Judgement Case was just dismissed with Prejudice in

UNITED STATES OF AMERICA v. Mooney, et aL, 0-16-cv-02547 (D.Minn. 2018).

       Also, be reminded that Toppin has a real remedy in the United States Federal Court of

Claims being a bona fide Article I Court of the United State with appeals to be taken to only the

bona fide Court of Appeals arising Article III Sections 1 and 2 Court of the United States being

the United States Federal Circuit Court of Appeals' that uses "United States" in Rule 4 and Rule

10 and not the "United States of America."




amended from time to time."

^Codified at 52 U.S.C. § 20502 (4)—State.
 Codified at 52 U.S.C. § 20501(a)—The Congress finds that—(1) the right of citizens of the
United States is a fundamental right."
' See Legislative History—Senate Report No. 96-304, 96"' Congress U' Session, August 3, 1979
on 96 Stat. 25-58, 1982 "Federal Courts Improvement act of 1982."
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       And further, in UNITED STATES OF AMERICA v. Mooney, et al, 0-16-cv-0247

(D.Minn. 2018) Judge Nelson's USDC exercising the "judicial power of a district court" in 28

U.S.C. § 132(c) has "held" establishing precedence for the USDCs twice^ that there is NO legal

difference between "United States;" and further in United States ofAmerica v. Thornton, 0-13-

mc-87 (D.Minn. 2013) in Docket 1 "The United States of America, on behalf of its agency, the

Internal Revenue Service ("IRS") . . ." The United States/aka/United States of America on

behalf of its agency is great way to establish the Real Party of Interest of the "United States"/aka/

United States of America, with its' agency (IRS) and adjudicating the "United States of America

is a sovereign body politic" also in this instant Case filed into the public Record          being a

summary of the public records of various Cases evidenced by Attachment E—Recording

District: Palmer Recording District 311, Palmer, Alaska No. "2018-0136613-0" ("Attach

E—USA"). The relationship between "United States" and the "United States being a sovereign

body politic" along with the Tenth Amendment will be quite revealing and the Constitution of

the United States and the "Government of the United States."


       And further, the Public Salary Act of 1939 at 53 Stat. 574-577 where the United States

and the States have agreements to tax each other's employees that has not been disclosed yet in

discovery to Toppin wherein as found in the Legislative History of the Public Salary Act of 1939

the issue of "Federal Income Tax" is explained and then clarified in Senate Report No. 112,

February 24,1939 pg. 15 "It should be noted that included in the classes of employees to whom

the Commissioner may give relief under this section will be employees of the type involved in




^ Dockets 143 and Dockets 168 citing United States v. Garcia, No. 13-cr-164 2013 WL
5954688, *5 (D. Minn. Oct. 4, 2013); United States v. Wacker, No. 98-3267, 1999 WL
176171, at *2 (10th Cir. Mar. 31, 1999).
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the case of Helvering. V. Therrell, 303 U.S. 218, since the decision in the Gerhardf case

clarified and restated the bases for the liability for such persons for Federal income tax."

       Then the SOM CON couples this with the Buck Act in 54 Stat. 1059-1061 of

1940, pg. 1060 "The term "income tax" means any tax levies on, with respect to, or

measured by, net income, gross income, or gross receipts" coupled with the term of

"Federal Area means . . . which is located with the exterior boundaries of any State

shall be deemed to be a Federal Area located within such State."


       Then the SOM to bypass the holding of term definition of "income" for "Federal

Income Tax" as held in Merchants' Loan & Trust Co. v. Smietanka, 255 U.S. 509 (1921)
®Helvering v. Gerhardt, 304 U.S. 405, 418 (1938) "lYlet the individuals who personally
derived profit or comnensation from their employment in carrying out the function were
deemed to be subiect to federal income tax. FN6

FN6—^The following classes of taxpayers have been held subject to federal income tax
notwithstanding its possible economic burden on the state: Those who derive income or profits
from their performance of state functions as independent engineering contractors, Metcalf &
Eddy V. Mitchell, 269 U.S. 514, 46 S.Ct. 172, 70 L.Ed. 384, or from the resale of state bonds,
Willcuts V. Bunn, 282 U.S. 216, 51 S.Ct. 125, 75 L.Ed. 304, 71 A.L.R. 1260; those engaged as
lessees of the state in producing oil from state lands, the royalties from which, payable to the
state, are devoted to public purposes. Group No. 1 Oil Corporation v. Bass, 283 U.S. 279, 51
S.Ct. 432, 75 L.Ed. 1032; Burnet v. A. T. Jergins Trust, 288 U.S. 508, 53 S.Ct. 439, 77 L.Ed.
925; Bankline Oil Co. v. Commissioner, 303 U.S. 362, 58 S.Ct. 616, 82 L.Ed. 897and Helvering
V. Mountain Producers Corp., 303 U.S. 376, 58 S.Ct. 623, 82 L.Ed. 907, both decided March 7,
1938, overruling Burnet v. Coronado Oil & Gas Co., 285 U.S. 393, 52 S.Ct. 443, 76 L.Ed. 815.
Similarly federal taxation of property transferred at death to a state or one of its municipalities
was upheld in Snyder v. Bettman, 190 U.S. 249, 23 S.Ct. 803, 47 L.Ed. 1035, cf. Greiner v.
Lewellyn, 258 U.S. 384, 42 S.Ct. 324, 66 L.Ed. 676; and a federal tax on the transportation of
merchandise in performance of a contract to sell and deliver it to a county was sustained in
Wheeler Lumber Bridge & Supply Co. v. United States, 281 U.S. 572, 50 S.Ct. 419, 74 L.Ed.
1047; cf. Indian Motocycle Co. v. United States, 283 U.S. 570, 51 S.Ct. 601, 75 L.Ed. 1277. A
federal excise tax on corporations, measured by income, including interest received from state
bonds, was upheld in Flint v. Stone Tracy Co., 220 U.S. 107, 162, 31 S.Ct. 342, 55 L.Ed. 389,
Ann.Cas.l912B, 1312, et seq.; see National Life Insurance Co. v. United States, 277 U.S. 508,
527, 48 S.Ct. 591, 595, 72 L.Ed. 968; compare the discussion in Educational Films Corp. v.
Ward, 282 U.S. 379, 389, 51 S.Ct. 170, 172, 75 L.Ed. 400, 71 A.L.R. 1226, and in Pacific Co.,
Ltd., V. Johnson, 285 U.S. 480, 490, 52 S.Ct. 424, 426, 76 L.Ed. 893."


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"profit gained through sale or conversion of capital assets" within the meaning of The

Corporation Excise Tax of 1909 (36 Stat. 11, 112) also precluding the Sixteenth

Amendment has receded as evidenced in United States v. City and County of Denver,

573 F.Supp. 686, 687 (D.Col. 1983) "4 U.S.C. § 106(a). As to "income taxes" [not

"Federal Income Tax"], the United States, through the Buck Act, has receded

jurisdiction to the states and other local taxing authorities." Codification of the Buck

Act is found in 4 U.S.C. 104-110 and Consent to taxation of Federal Employees in 4

U.S.C. §111.

      And further evidence of retrocession to the states is found in Annexations of

Military Reservation by Political Subdivisions, 11 Mil. L. Rev. 99, 103 (1961) to wit:

      A retrocession statute of major importance was enacted by Congress in
      1940. This law, commonly known as the "Buck Act", retroceded to the
      states and to their duly constituted taxing authorities jurisdiction to lew
      and collect sales, use, and income taxes within federal areas. The federal
      government and its instrumentalities were excepted from the operation of
       the Act.

      This retrocession statue is found on "Federal Areas" for "federal employment"

is codified in 5 U.S.C. § 5517—Withholding State Income Taxes (a) ""[w]ho are

residents of the State with which the agreement is made" for "whose regular place of

Federal employment is within the State with which the agreement is made."

       Then in this CON, money collected is donated as a "gift or bequest" to the

United States as evidenced in 31 U.S.C. § 321(d)(2) "For purposes of the Federal

income, estate, and gift taxes, property accepted under paragraph (1) shall be

considered as a gift or bequest to or for the use of the United States."

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                                        V. Conclusion


       In Toppin's Affirmative Defense he has presented unassailable facts from the public

Record, precedents and holding from the Supreme Court of the United States, from unambiguous

Statutes of the United States with Legislative History and Reviser's Notes that mandate that this

USDC only course of Action is to dismiss this instant Case as it does not exercise the "judicial

Power of the United States" and does not Arise under Article 111 Sections 1 and 2 of the


Constitution of the United States exercising the "judicial Power of the United States" wherein

"The judicial Power shall extend to all Cases, in Law and Equity, arising under this

Constitution, the Laws of the United States, and Treaties made, or which shall be made, under

their Authority."

                                                           My Hand




                                                                                             1/4
                                                          aM-




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                       VL Verified Affidavit of David Lvnwood Toppin

State of Massachusetts         )
                               ) ss.
Worcester County               )

       I, David Lynwood Toppin,         swear (or affirm) that the facts in this Motion with its

Attachments, that the facts in this Verified Affidavit and the facts in Attachment B—Certificate

of Political Status, Citizen Status and Allegiance, Filed in The Recording District 311

Palmer, Alaska No. "2015-025747-0" ("Attach B—Status") being a true and correct copy of

what is filed into the public record, infra., are true and correct under the penalty of perjury.

        1. My true name is David Lynwood Toppin.

       2. I am of the age of majority and competent to testify to the facts contained in the

Motion to Dismiss and to the facts in this Declaration.

       3.   I am a "citizen of Massachusetts."


       4. I am domiciled in Massachusetts, being one of the several States.

       5.1 am not a "citizen of the United States."


       6. I am a "national of the United States" that owes permanent allegiance to the

United States as codified in 8 U.S.C. § 1101(22)(B) ""a person who, though not a citizen

of the United States, owes permanent allegiance to the United States."

       7. I am not domiciled, have residence or reside in any "Federal Area" as defined in

codified in 4 U.S.C. § 110.

       8. This Court's alleged authority is found the public record codified in 28 U.S.C.

§ 132(c) exercising "[T]he judicial power of a district court" that is derived from the

"Territory of Hawaii" as documented in the Reviser's Notes.


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       9. I have never given this Court knowingly, tacitly or by any other means

"personal jurisdiction."

       10,1 have no known legal obligation for any "income" due to the "United States of

America," being the Plaintiff.

       11.1 have no known legal obligation for any "income" due to the "United States,"

being an unidentified entity in this Complaint.

       12. I have no known legal obligation for any "Income Tax" due to the "United

States ofAmerica," being the Plaintiff.

       13. I have no known legal obligation for any "Income Tax" to the "United States,"

being an unidentified entity in this Complaint.

       14. I have no known legal obligation for any "Federal Income Tax" due to the

"United States ofAmerica," being the Plaintiff.

       15. I have no known legal obligation for any "Federal Income Tax" due to the

"United States," being an unidentified entity in this Complaint.

       16. I am not domiciled in any "Federal Area" and defined and used in the codified

4U.S.C. § 110(e).

       17. I am not domiciled in the "State" as defined in 4 U.S.C. § 110(d).

       18. I am proceeding under threat, duress and coercion.

       19. No facts have been provided of the relationship between the "United States of

America" and the "United States" in this Complaint.

       20. Toppin is not an employee of the "United States of America."

       21. Toppin is not an employee of the "United States."



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      22. Toppin is not an employee of the ''Commonwealth of Massachusetts.

      23. Toppin is not an employee of the "State of Massachusetts."

      24. Toppin is not an employee of Massachusetts, being one of the several States.

      25. Toppin is not an employee as used in 26 U.S.C. § 6331.




                                                         My HarTtl;



      Sworn and Subscribed before me a Notary Public in and for the State of

Massachusetts on


      My Civil Commission expires on             Q.                .

                                                          Signature of Notary Public

ISEAL]
                                                         My Hand,




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                             VII. CERTIFICATE OF SERVICE


               I hereby certify that on December 24"'. 2018, a copy of the foregoing Motion with

its Attachments and this Affirmative Affidavit has been made on all counsel of record by ECF

and an original was filed into the USDC. Paper service will be made on any party not being

served by ECF, as notified by the court.

Date December 24"', 2018




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